     Case 1:20-cv-09153-PGG-JW                  Document 60           Filed 09/06/21          Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x
                                                                     :
AKHMED GADZHIEVICH BILALOV,                                          :
                                                                     :
                                              Plaintiff,             :
                                                                     :
                           -against-                                 :
                                                                     : 1:20-cv-09153-AT-KNF
HERMAN GREF, SBERBANK CIB USA, INC., :
SBERBANK OF RUSSIA PJSC, and DOES 1- :
100 inclusive,                                                       :
                                                                     :
                                              Defendants.            :
- - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -x

              DISCLOSURE STATEMENT PURSUANT TO FED. R. CIV. P. 7.1

        Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and

Magistrate Judges of this Court to evaluate possible disqualification or recusal, the undersigned

counsel makes the following certification: Sberbank CIB USA, Inc. is an indirect wholly-owned

subsidiary of Defendant Sberbank of Russia. See ECF No. 53.
    Case 1:20-cv-09153-PGG-JW   Document 60    Filed 09/06/21    Page 2 of 2




Dated: New York, New York
       September 6, 2021


                                  WHITE & CASE LLP

                                  By:   /s/ Claire DeLelle

                                        Claire DeLelle
                                        Email: claire.delelle@whitecase.com
                                        701 Thirteenth Street, NW
                                        Washington, DC 20005
                                        Telephone: (202) 626-3600

                                        Kim Havlin
                                        Email: kim.havlin@whitecase.com
                                        Scott Hershman
                                        Email: scott.hershman@whitecase.com
                                        Isaac Glassman
                                        Email: isaac.glassman@whitecase.com
                                        1221 Avenue of the Americas
                                        New York, New York 10020-1095
                                        Telephone: (212) 819-8200

                                        Counsel for Defendant
                                        Sberbank CIB USA, Inc.
